

Matter of Kevin P. (Kristopher P.) (2025 NY Slip Op 01480)





Matter of Kevin P. (Kristopher P.)


2025 NY Slip Op 01480


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., SMITH, GREENWOOD, DELCONTE, AND HANNAH, JJ.


122 CAF 22-01139

[*1]IN THE MATTER OF KEVIN P.
ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;andKRISTOPHER P., RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
MELISSA HORVATITS, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (RUSSELL E. FOX OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Margaret O. Szczur, J.), dated June 14, 2022, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, found that respondent had derivatively abused the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Leonard P. (Kristopher P.) ([appeal No. 1] — AD3d — [Mar. 14, 2025] [4th Dept 2025]).
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








